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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                GREENWOOD DIVISION

UNITED STATES OF AMERICA                            ) CRIMINAL NO.: 8:18-484
                                                    )
               vs.                                  )
                                                    )
                                                    )
ANTHONY DANTE HOLLOWAY                              )

                     Information Regarding Imposition of Enhanced Sentence

       The United States of America, by and through its Assistant United States Attorney, Leesa

Washington, files this information pursuant to Title 21, United States Code, Section 851(a),

hereby notifying the defendant that he is subject to increased penalties provided by Title 21,

United States Code, Section 851(a), based on the following convictions:

1.     Possession with Intent to Distribute Marijuana; General Sessions Court, Greenwood
       County; Indictment No: 2009-GS-01-0135; May 26, 2009;

       The Government reserves the right to amend this information. Certified copies of the

relevant documents are available for review.

                                               Respectfully submitted,

                                               SHERRI A. LYDON
                                               UNITED STATES ATTORNEY

                                      BY:       s/Leesa Washington
                                               Leesa Washington (I.D. No. 6973)
                                               Assistant United States Attorney
                                               55 Beattie Place, Suite 700
                                               Greenville, SC 29601
                                               (864) 282-2100


August 24, 2018
